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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH DAKOTA
                                   WESTERN DIVISION



                                           ♦

DAKOTA RURAL ACTION;                       *      CIV 19-5026
DALLAS GOLDTOOTH;                          *
INDIGENOUS ENVIRONMENTAL                   *
NETWORK; NDN COLLECTIVE;                   *
SIERRA CLUB; and NICHOLAS TILSEN; *
                                           «


              Plaintiffs,                  *
       vs.                                 *                 ORDER
                                           *


KRISTINOEM,in her official capacity as *
Governor of the State of South Dakota;     *
JASON RAVNSBORG,in his official            *
capacity as Attorney General; and      *
KEVIN THOM,in his official capacity as *
Sheriff of Pennington County,          •
                                           «

              Defendants.                  *
                                           «




       Pending before the Court are several motions, and the Court wishes to hear oral argument
on the same. Accordingly,

       rr IS ORDERED that the Court will hear argument on all pending motions, with the
       argument to be held in Courtroom #1 in the United States District Courthouse, in
       Rapid City, South Dakota, on Wednesday, June 12, 2019, at 3:00 P.M. If counsel
       wish to appear by telephone, arrangements are to be made by contacting Chambers
       at 605-330-6640.


       Dated this ^ day of Jime, 2019.
                                           BY THE COURT:




                                           I^wrence L. Piersol
ATTEST:                                    United States District Judge
MATTHEW W.THELEN CLERK
